Case 2:09-cv-06244-WJM-MF Document 26-7 Filed 03/29/10 Page 1 of 2 PagelD: 311

EXHIBIT E
Case 2:09-cv-06244-WJM-MF Document 26-7 Filed 03/29/10 Page 2 of 2 PagelD: 312

° . ProNational Insurance Compan
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INSURANCE COMPANY 800/292-1036

\__. 4 ProAssurance Company Pax 517/349-8977

www.ProNational.com

October 30, 2003

CERTIFIED MAIL

Mercer-Bucks Orthopaedics PC
3120 Princeton Pike
Lawrenceville, NJ 08648

RE: MP41275
Dear Administrator:

ProNational is committed to providing a financially secure source of quality insurance to
the health care community. To achieve this goal we annually review our policyholders to ensure
they continue to meet our underwriting standards.

We have recently reviewed your file and must inform you that your professional liability
insurance policy is non-renewed effective December 31, 2003. The decision to non-renew was
due to claims frequency. Accordingly, enclosed please find the following:

1. A Notice of Non-renewal effective December 31, 2003.

2. A Notice of Right to Purchase the Extended Reporting Period Endorsement (Tail
Coverage). Please note that if you do not acquire the Extended Reporting Period
Endorsement, there will be no coverage for claims first made after the cancellation
date of your policy. Please read this notice carefully.

Should you have any questions regarding your non-renewal or Notice of Right to

Purchase the Extended Reporting Endorsement please call your agent, CLA Insurance Agency, at
610-356-8600 or our Policyholder Services Department.

Sincerely, —
( v Rochelle Romig--.. ~\

. RS
Senior Underwriter {A
SR/dp

Enclosure ‘
cc: # 8003 CLA Insurance Agency

2600 Professionals Drive, Okemos, MI 48864 « PO Box 150, Okemos, MI 48805-0150
